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FINANCIAL INSTITUTION EXECUTION

TO ANY PROPER OFFICER:

       Whereas on said Date of Judgment the above-named Judgment Creditor(s) recovered
judgment against the above-named Judgment Debtor(s) before the above-named court for the amount
of damages, costs and fees stated above, as appears on record, whereof execution remains to be .
done. These are, therefore, by AUTHORITY OF THE UNITED STATES TO COMMAND YOU:

0 IF JUDGMENT DEBTOR IS A NATURAL PERSON
Within seven days from your receipt of this execution, make demand upon the main office of, any
financial institution having its main office within your county, or if such main office is not within your
county and such financial institution has one or more branch offices within your county, upon an
employee of such a branch office, such employee and such branch office having been designated by
the financial institution in accordance with regulations adopted by the commissioner of banking, for
payment to you pursuant to section 52-367(b) of the general statutes of any nonexempt debt due said
Judgment Debtor(s), which sum shall not exceed the total unpaid judgment, costs and fees as stated
above, plus post judgment interest on the unpaid amount of said judgment from its date until the time
when this execution shall be satisfied, plus your own fee. After having made such demand you are
directed to serve a true and attested copy of this execution, together with the attached affidavit and
exemption claim form, with your doings endorsed thereon, with the financial institution officer upon
whom such demand was made. Said sum shall be received by you and applied on this execution in
accordance with the provisions of section 52-367(b) of the general statutes. You may not serve more
than one financial institution execution per judgment debtor at a time. If you have made an initial
demand within the seven-day period, and have been informed by the financial institution that the
Judgment Debtor had insufficient funds at that financial institution available for collection to satisfy
the judgment, you may make additional demands on the main office of other financial institutions or
employees of other branch offices as directed herein, provided any such additional demand is made
not later than forty-five days from your receipt of this execution.

0 IF JUDGMENT DEBTOR IS NOT A NATURAL PERSON
Make demand upon the main office of any financial institution having its main office within your
county, or if such main office is not within your county and such financial institution has one or more
branch offices within your county, upon an employee of such branch office, such employee and such
branch office having been designated by the financial institution in accordance with regulations
adopted by the commissioner of banking, for payment to you of any debt due said Judgment
Debtor(s), which sum shall not exceed the total unpaid judgment, costs and fees as stated above, plus
post judgment interest on the unpaid amount of said judgment, from its date until the time when this
execution is satisfied, plus your own fees. Said sum shall be received by you and applied on this
execution. After having made such demand you are directed to serve a true and attested copy hereof,
with your doings thereon endorsed, with the banking institution officer upon whom such demand was
made.

HEREOF FAIL NOT, AND MAKE DUE RETURN OF THIS WRIT WITH YOUR DOINGS THEREON,
ACCORDING TO LAW.

DA TED AT     I Hartford           CONNECTICUT THIS ~          DAY OF   I December , 20123
